      Case 4:18-cr-00689 Document 73 Filed on 11/05/21 in TXSD Page 1 of 32
                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                     IN THE UNITED STATES DISTRICT COURT                 November 05, 2021
                      FOR THE SOUTHERN DISTRICT OF TEXAS                  Nathan Ochsner, Clerk
                               HOUSTON DIVISION



ROBERT COLEMAN,                         §
                                        §
                     Plaintiff,         §
                                        §          CIVIL ACTION NO. H-21-1977
v.                                      §           (CRIMINAL NO. H-18-689)
                                        §
UNITED STATES OF AMERICA,               §
                                        §
                     Defendant.         §



                        MEMORANDUM OPINION and ORDER


       Plaintiff, Robert Coleman (BOP #61382-479) ("Plaintiff"), has

filed a Motion Under 28 U.S.C.              § 2255 to Vacate,     Set Aside,           or

Correct Sentence By a Person in Federal Custody                   ("Plaintiff's

§    2255 Motion") (Docket Entry No. 63), asserting that his guilty

plea       "was   entered as   a   result    of   ineffective   assistance            [of

counsel]      and is therefore neither knowing or voluntary. " 1                     The

Government has filed United States' Motion for Summary Judgment

(the "Government's MSJ") (Docket Entry No. 69), arguing that there

is no genuine dispute as to any material fact and the Government is

entitled to judgment as a matter of law. 2               For reasons explained

below,       Plaintiff's   § 2255     Motion      will   be   denied,     and       the

Government's MSJ will be granted.


      Plaintiff's § 2255 Motion, Docket Entry No. 63, p. 31. All
       1

docket entry numbers refer to Criminal No. H-18-689. For purposes
of identification all page numbers reference the pagination
imprinted at the top of the page by the court's Electronic Case
Filing ("ECF") system.
       2
           Government's MSJ, Docket Entry No. 69, p. 1.
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                           I.   Factual Background

       In May of 2018 Houston Police Department ( "HPD") investigators
used a cooperating source to set up a cocaine deal with Plaintiff. 3

Investigators observed the source purchase 28 grams of cocaine from
Plaintiff. 4     On August 6, 2018, the Honorable Keith Ellison issued
an order authorizing wire and electronic intercepts for a phone

used by Plaintiff. 5       Judge Ellison renewed the authorization on

September 10, 2018. 6        The interceptions revealed that Plaintiff

sold gram quantities            cocaine, crack cocaine, marijuana, and

pil        to various customers on a regular basis and that Plaintiff
was resupplied regularly from several sources. 7                  Agents also
learned from multiple sources and interceptions that Plaintiff
cooked crack cocaine in his residence. 8
       On November 6, 2018, Plaintiff was arrested pursuant to an

arrest warrant. 9     After officers knocked and announced, Plaintiff

fired a round towards           front door, and the bullet lodged in the

door. 10    The gun jammed and was found next to Plaintiff when he was



               Agreement, Docket Entry No. 19, p. 6       1 11.
       4


       5


       6


       7


       8
              at 7.




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arrested.11        Plaintiff stated that he believed someone was breaking

into the apartment, and that he did not know that the people he was

firing at were law enforcement.12                 Approximately 9.1 grams of crack

cocaine and equipment to manufacture crack cocaine were seized from

Plaintiff's residence.13                Plaintiff's girlfriend, who was present

at his arrest, told agents that Plaintiff manufactured and sold

crack cocaine and that the gun he fired was his.14

       On         April       9,      2019,     Plaintiff    pleaded   guilty   to

(1) Manufacture/Possession with Intent to Deliver a Controlled

Substance in violation of 21 U.S.C. §§ 841 (a) (1) and (b) (1) (C), and

(2)    Discharging        a        Firearm    During   and in relation to a Drug

Trafficking Crime in violation of 18 U.S.C. § 924 (c) (1) (A) (iii).15

After Plaintiff swore to tell the truth, the following colloquy

took place:

THE COURT:            Mr. Coleman, before I can accept your plea, I must
                      ask you a number of questions.        It is very
                      important that you listen carefully to all of my
                      questions and that you answer all of my questions
                      truthfully and completely for several reasons.

                      First, since you are now under oath, if you gave an
                      untrue answer to a question, you could be charged
                      with a separate crime of perjury.

                      Do you understand that?


       11   Id.




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DEFENDANT:      Yes, sir.

THE COURT:      Also, before I can accept your plea, I must make a
                number of findings. My findings are based on your
                answers to my questions.  In order for my findings
                to be correct, it is therefore necessary that all
                of your answers to my questions be truthful and
                complete.

                Do you understand that?

DEFENDANT:      Yes, sir.

THE COURT:      If you do not understand anything that I say this
                morning, would you agree to stop and ask me to
                repeat or explain anything that you do not
                understand?

DEFENDANT:      Yes, sir.

THE COURT:      Also, you may stop at any time and speak with your
                lawyer.   You do not need anyone's permission to
                speak with him.

Rearraignment Transcript,     Docket Entry No.      53,   page 3,   line 14

through page 4, line 13.



THE COURT:      Have you ever been diagnosed or treated for any
                type of mental problem?

DEFENDANT:      No, sir.

THE COURT:      Have you ever been diagnosed              or   treated for
                addiction to drugs or alcohol?

DEFENDANT:      No, sir.

THE COURT:      Has anyone ever told you that you should be treated
                for any type of mental problem, or for any type of
                addiction?

DEFENDANT:      No, sir.

THE COURT:      Have you taken any type of drug or medicine within
                the last 24 hours?

DEFENDANT:      Yes, sir.    My blood pressure.

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THE COURT:      Does that medicine prevent you from understanding
                what's happening?

DEFENDANT:      No, sir.

Id. at page 5, line 11 through page 6, line 2.



THE COURT:      How many times have you talked with your lawyer
                about this case?

DEFENDANT:      Numerous times.

THE COURT:      More than five?

DEFENDANT:      About five times.

THE COURT:      Has your lawyer talked to you about the charges
                against you and what the government would have to
                prove to establish your guilt?

DEFENDANT:      Yes, sir.

THE COURT:      Has he reviewed with you the evidence that the
                government has against you?

DEFENDANT:      Yes, sir.

THE COURT:      Has your lawyer discussed with you how the Federal
                Advisory Sentencing Guidelines might apply in your
                case?

DEFENDANT:      Yes, sir.

THE COURT:      Has your lawyer answered all of your questions?

DEFENDANT:      Yes, sir.

THE COURT:      Has he done everything that you have asked him to
                do?

DEFENDANT:      Yes, sir.

THE COURT:      Are you fully satisfied with the advice and counsel
                that your lawyer has provided to you?

DEFENDANT:      Yes, sir.

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THE COURT:      You do not have to plead guilty. You have a right
                to go to trial.    If you went to trial, you would
                have the right to the assistance of a lawyer at all
                stages of the trial.     If you could not afford a
                lawyer, the Court could appoint a lawyer for you.
                You would have the right to see and hear the
                government's witnesses at trial and have your
                lawyer question them. You would have the right to
                compel other people to come into court and provide
                evidence for you.    You would not be required to
                testify at a trial, and you could not be convicted
                at a trial unless the jury unanimously found beyond
                a reasonable doubt that you were guilty.

                If you plead guilty today, however, there will not
                be a trial, and you will give up the right to a
                trial and all the protections that are associated
                with a trial.

                Do you understand that?

DEFENDANT:      Yes, sir.

THE COURT:      The maximum sentence that you face as to Count 1 is
                20 years in prison, and a fine of $1 million, and 3
                years of supervised release, and a one-hundred
                dollar special assessment.

                As to Count 2, you face the sentence of at least
                ten years in prison, and a maximum sentence of life
                in prison, and a fine of $250,000, and up to five
                years of supervised release and a one-hundred
                dollar special assessment.

                Do you understand that?

DEFENDANT:      Yes, sir.

THE COURT:      There's no parole in federal court. That means
                you'11 actually have to serve your sentence in
                prison.

                In addition, because you're pleading guilty to a
                felony, you'11 give up the right to vote, hold
                public office, serve on a jury, and possess a
                firearm.

                Any term of supervised release will be subject to a
                number of conditions which will be monitored by a

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                probation officer.  If I find that you violated
                those conditions, I could revoke your supervised
                release and send you back to prison without any
                credit for the time you had already served on
                supervised release.

                Do you understand that?

DEFENDANT:      Yes, sir.

THE COURT:      The Court has not made any decision about what
                [your] sentence will be.   If I accept your guilty
                plea, a probation officer will interview you,
                investigate the facts of the case, and prepare a
                presentence investigation report. You will have an
                opportunity to read the report and to discuss the
                report with your lawyer before your sentencing.

                You or the government may file objections to the
                presentence report.      At the time of your
                sentencing, I will rule on any objections, and I
                will then determine your advisory guideline range
                and your sentence.

                What you need to understand today is that this
                process of determining your sentence has not yet
                begun.    That means no one knows what advisory
                guideline   range   the  probation   officer   will
                recommend, or what advisory guideline range the
                Court will find applicable, or what sentence I will
                impose.

                Do you understand?

DEFENDANT:      Yes, sir.

THE COURT:      If the sentence that I impose is greater than the
                sentence that you now expect, or greater than the
                sentence that your lawyer or anyone else may have
                predicted, you will be bound by your guilty plea
                today, regardless of your sentence.   You will not
                be allowed to change your mind and withdraw your
                guilty plea because you are not satisfied with your
                sentence.

                Do you understand that?

DEFENDANT:      Yes, sir.

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THE COURT:      The government has provided the Court with a copy
                of the plea agreement.       Have you read the
                agreement?

DEFENDANT:      Yes, sir.

THE COURT:      When did you read it?

DEFENDANT:      Last -- this weekend.

THE COURT:      Pardon me?

DEFENDANT:      This weekend.

THE COURT:      Have you talked to your lawyer about it?

DEFENDANT:      Yes, s

THE COURT:      How much time did you spend talking to your lawyer
                about the agreement?

DEFENDANT:      Almost an hour.

THE COURT:      Did he answer any questions you had about            ?

DEFENDANT:      Yes, sir.

THE COURT:      All right.  I want to go over the essential parts
                of it again just to be sure you understand them.
                Do you have a copy of      agreement in front of
                you?

MR. WILLIAMS:   We do, Your Honor.

THE COURT:      All right.     If you'll         please    look   at [the]
                agreement, Mr. Coleman.

                In Paragraph 1, you agree to plead guilty to Counts
                1 and 2, which I described earlier.

                Paragraph 6, on Page 3, the government agrees to
                dismiss Count 3 at the time of your sentencing.
                And the government also agrees to move for an
                additional one-level downward adjustment in your
                offense level because you're pleading guilty.

                Now, other than the factual basis for your plea,
                which I will discuss in a minute, have I correctly
                described your plea agreement with the government
                as you understand the agreement?

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DEFENDANT:      Yes, s

THE COURT:      Other than what is stated in this agreement, has
                the government made any promises to you in
                connection with your guilty plea?

DEFENDANT:      No, sir.
THE COURT:      Has anyone threatened you or forced you to plead
                guilty?
DEFENDANT:      No, sir.
THE COURT:      Has the government told you what sentence you will
                receive if you plead guilty?

DEFENDANT:      No, sir.

THE COURT:      Has your lawyer told you what sentence you will
                receive   you plead guilty?

DEFENDANT:      No, sir.
THE COURT:      Has anyone else told you what sentence you will
                receive if you plead guilty?

DEFENDANT:      No, sir.
THE COURT:      In order for the government to prove your guilt as
                to Count 1, the government would have to show that
                you knowingly possessed a controlled substance with
                the intent to distribute it.        That means to
                trans     possession of     to someone else.    And
                that the controlled substance in this case was
                cocaine base.
                As to Count 2, the government would have to show
                that you committed the    ements of Count 1, a drug
                trafficking crime, and that during and in relation
                to that crime, you knowingly discharged the
                firearm, and that you discharged the firearm during
                in relation to and in furtherance of the
                defendant's drug trafficking crime.
                Now, if you'll turn, please, to Page 6 of your plea
                agreement.
                Paragraph 11 says, "Defendant is pleading guilty
                because he is in fact guilty of the charges

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                contained    Counts 1 and 2 of the indictment. If
                this case were to proceed to trial,            the
                United States could prove each element of the
                offense beyond a reasonable doubt.
                 The following facts, among others, would be offered
                 to establish the defendant's guilt.
                And then on Page 6, in      first half of Page 7,
                the government sets out the facts it says    could
                prove if the case were tried.    Mr. Coleman, have
                you carefully read Pages 6 and 7 of the plea
                agreement?

DEFENDANT:       Yes, s
THE COURT:       Are all the facts stated on those pages true?
DEFENDANT:       Yes, Your Honor.     Yes, s

THE COURT:      Did you do everything described in those pages?
DEFENDANT:      Yes, sir.

THE COURT:       Now, on November 6,      2018,   were you home in your
                 apartment?

DEFENDANT:       Yes, s
THE COURT:      Did somebody knock on the door?

DEFENDANT:      No, sir.

THE COURT:      Nobody knocked on the door?           Well, why were you
                shooting at the door?
DEFENDANT:      Glass windows was broken.         Windows was broken.

THE COURT:      Tell me what happened on that day.
DEFENDANT:      Okay.        day of the arrest, I was asleep, some
                windows was broken, my      riend brother jumped up
                and said that somebody was breaking in the house or
                whatever.   So at that time, I grabbed the gun,
                whenever, just trying to figure out what was going
                on. And at that time when I made it to        front
                area, which is the living room, I let off a shot on
                the floor or whatever, and it must have ricocheted.
                And around that time, I     t, and after I    t the

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                 room, I went to the room, and then the door bust
                 open and the police came in.

THE COURT:       You had a gun[,] right?

DEFENDANT:       Yes, sir.

THE COURT:       What type of gun did you have?

DEFENDANT:       It was a 9 millimeter.

THE COURT:       Where did you keep the gun?

DEFENDANT:       In the closet.

THE COURT:       All right.    Did you have drugs in the apartment?

DEFENDANT:       Yes, sir.

THE COURT:       Had you been selling drugs?

DEFENDANT:       Yes, sir.

THE COURT:       Why did you have a gun?

DEFENDANT:       The gun was for where I lived at for my protection
                 where I lived at in the area, it's like a whole
                 bunch of violence and stuff going on.

THE COURT:       Well, did you have the gun to protect your drugs
                 and the money for the drugs?

DEFENDANT:       No, sir.   I wasn't like selling drugs like on a
                 regular to protect. I didn't have the gun --

THE COURT:       How can I accept the plea to Count -- he says the
                 gun didn't have anything to do with the drugs. You
                 drafted this.   How does this prove the essential
                 elements of felon in possession of a firearm in
                 relation to a drug trafficking crime[?] We have to
                 go to trial on that.

MS. BASILE:      Okay.   Your Honor, he was possessing the gun to
                 protect the drugs. We have a wiretap, we have him
                 with the guns, multiple occasions selling drugs
                 with a gun --

THE COURT:       I can't accept his plea.       So when is this case set
                 for trial?

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MR. WILLIAMS:    I think Monday, Judge. I think we had a pretrial
                 conference set yesterday.
THE COURT:       Do you understand the problem,          I can't let him
                 stand there --

MR. WILLIAMS:    I understand.

THE COURT:           and say he didn't        the        gun   didn 1 t have
                 anything to do with the drugs.
MR. WILLIAMS:    I clearly understand.

THE COURT:       Okay. Now,      you're set for trial Monday; is that
                 right?

Mr. WILLIAMS:    I think        is.   I think it was set for Monday.

CASE MANAGER:    I believe it's in May.

THE COURT:       You need some time to talk to him?

MR. WILLIAMS:    Yes,      1   Your Honor, obviously.

THE COURT:       Okay. We'll take a short recess and I'll come back
                 in about five minutes.
Id. at page 6, line 6 through page 16, line 9.
     The colloquy resumed after a brief recess:
MR. WILLIAMS:    May we approach again, Your Honor?

THE COURT:       Sure.   Where are we, Mr. Williams?
MR. WILLIAMS:    I've counseled with Mr. Coleman regarding where we
                 are, and it's still a 1        confusing to me.   I
                 would 1     for him to state on the record as to
                 what it     because I wasn't there.   We agreed to
                 the particular facts,     but now we're saying
                 something else, but I want it clear from     to the
                 Court as to what he did, and I'd            him to
                 articulate that in order to have a factual basis to
                 support the plea, Judge.
THE COURT:       All right. Go ahead, Mr. Coleman.          Speak up so we
                 can hear you.


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DEFENDANT:       Okay, s     Your Honor,          question -- can I have
                 the question again?

THE COURT:       Well,    order for you to plead guilty to Count 2,
                 you must have knowingly discharged the firearm.
                 You've admitted that. But then discharging of the
                 firearm must have been during and in relation to,
                 or in furtherance of the drug trafficking crime.

                 Now, you've admitted there were drugs on the
                 premises, and you've admitted, at least the factual
                 bas           that approximately 9 .1 grams    crack
                 cocaine and equipment to manufacture cocaine were
                 seized.     But the problem is        and your plea
                 agreement says that your girlfriend told      agents
                 that "Coleman rnanufacture[Js and sells crack
                 cocaine, and that the gun he fired was his,      but  11

                 you 1 ve denied that the gun had anything to do with
                 the drugs.

                 So as to that count, I can't find you guilty. The
                 plea agreement says in return for the government's
                 promise, you're supposed to plead guilty to both
                 counts. I can't discuss      negotiations, but I'm
                 not sure I can accept your plea to Count 1 either,
                 but that's between the lawyers.

                 Do you understand where I'm corning from?

DEFENDANT:       Yes, sir.

THE COURT:       So why did you have the gun in the apartment?

DEFENDANT:       To protect the drugs.

THE COURT:       You're telling me that under oath?

DEFENDANT:       Yes, sir, I am.

THE COURT:      The gun was to protect the drugs?

DEFENDANT:       Yes,

THE COURT:      All right.   How do you plead to Counts 1 and 2,
                guilty or not guilty?

DEFENDANT:       Guilty.

THE COURT:      Do you think any other advice of rights is required
                before I accept your cl     's plea?

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MR. WILLIAMS:     No, Your Honor.   We've discussed this in detail.
                  I've gone over several wiretaps, certain other
                  evidence, other statements of witnesses regarding
                  this particular offense.

                  In my opinion, there were no defenses as to this
                  particular matter, and he expressed a desire to
                  plead guilty. It became new to me this morning as
                  to the misunderstanding as to what's in the factual
                  basis, but I wanted to be clear for the Court.

THE COURT:        Just to be sure again, how do you plead to Counts 1
                  and 2, guilty or not guilty?

DEFENDANT:        Guilty.

THE COURT:        All right.   You may now sign the agreem�nt.

                  It is the finding of the Court that the defendant
                  is fully competent and capable of entering an
                  informed plea, and that the plea of guilty is a
                  knowing and voluntar[]y plea supported by an
                  independent basis in fact establishing each of the
                  essential elements of the offense.

                  I therefore accept your plea.         I now adjudge you
                  guilty.

Id. at page 16, line 11 through page 19, line 9.

     Plaintiff, his attorney, and the Government's attorney signed

the plea agreement. 16   Plaintiff also signed an addendum to the plea

agreement that read in part:

     My attorney has fully explained, and I understand, all my
     rights with respect to the provisions of the United
     States Sentencing Commission's Guidelines Manual which
     may apply in my case. I have read and carefully reviewed
     every part of this plea agreement with my attorney.     I
     understand this agreement and I voluntarily agree to its
     terms.

Plea Agreement, Docket Entry No. 19, p. 12.


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          Plea Agreement, Docket Entry No. 19, p. 11.
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        Plaintiff's sentencing hearing took place before the court on

July 11, 2019. 17          Plaintiff informed the court that he had read and
discussed the presentence investigation report with his attorney. 18
The probation officer calculated Plaintiff's total offense level to

be 21, combined with a criminal history score of V, establishing a
"guideline imprisonment range [of] 70 to 87 months [.] " 19                  The PSR
also noted that this calculation did not include the 10-year
mandatory minimum term of imprisonment required under Count 2 --
discharging a firearm during and in relation to a drug                       ficking
crime. 2 0
        Paragraphs three, four, and five                    the PSR described HPD
investigators' observations of Plaintiff's relevant conduct from
May of 2018 through October of 2018 . 21              This included a description
of Plaintiff's sale of 28 grams of cocaine to an HPD source in May
of    2018 22    and      other    drug    sales    that   Plaintiff   conducted   in
conversations recorded by HPD wire intercepts. 23 Plaintiff objected
to the          lusion of these paragraphs in the PSR and argued that his
sentence for the drug               fense should be based only on the 9.1 grams

        1
         7   Sentencing Transcript, Docket Entry No.           45,   p. 1.
        18
                at page 2,                16-21.
        19
             Presentence Investigation Report (the "PSR"), Docket Entry
No.   2 6,     p. 14 1 61.
                ,, 60-61.
                at   4-5   11    3 5.

                at 4      1 4.
                 ,   5.
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of cocaine that he possessed at the time of his arrest instead of

the 37.1 grams contemplated by the probation officer. 2 4 The court

rejected     those   arguments 25     and   moved   forward    with   Plaintiff's

advisory     guideline   range. 2 6     Plaintiff     stated    "I    accept   full

responsibility for what I have done" and said that he "discharged

the weapon in fear, just trying to figure out was somebody trying

to break in."27      The court found that "a guideline sentence is

appropriate"2 8 and sentenced Plaintiff to "7 O months in custody on

Count 1 to be followed by 120 months in custody on Count 2 for a

total custodial sentence of 190 months."29

     On direct appeal, Plaintiff argued that

     the court erred in determining his advisory Sentencing
     Guidelines sentencing range for Count 1 because, applying
     Guideline§ lBl.3 (relevant conduct), it included in his
     relevant conduct 28 grams of cocaine base he sold to a
     cooperating source in May 2018, rather than considering
     only the drugs involved in his November 2018 offense of
     conviction.

United States v. Coleman, 813 F. App'x 167, 168 (5th Cir. 2020).

    The Fifth Circuit rejected this argument, holding that "in a

drug distribution case, quantities and types of drugs not specified


     24
      Addendum to the Presentence Report ( "PSR Addendum"), Docket
Entry No. 27, p. 1; PSR, Docket Entry No. 26, p. 6 � 9.
     25SentencingTranscript, Docket Entry No. 45, page 3, lines 6-9.

     26Id. at page 3 / line 24 through page 4 / line 3.
     27
          Id. at page 4, lines 11-12 and 22-23.

     zgid. at page 8 I line 1.
     29
          Id. lines 8-10.

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in the count of conviction are to be included in determining the

offense level if they were part of the same course of conduct or

part of a common scheme or plan as the count of conviction."                Id.

(citing U.S. S.G. § lBl. 3, cmt. background). The Fifth Circuit held

that "[c]ontrary to Coleman's contentions, the court's finding the

May 2018 sale satisfied Guideline § lBl.3 was plausible in the

light of the record."     Id.   On November 20, 2020, the Supreme Court

of the United States denied Plaintiff's petition for a writ of

certiorari.     Coleman v. United States, 141 S. Ct. 832 (2020).

     On June 9, 2021, Plaintiff filed his § 2255 Motion asserting

that his plea "was not Knowingly,         Intelligently and Voluntarily

Entered as a Result of Ineffective Assistance of Counsel[.] 1130

Plaintiff alleges that his defense counsel provided him with "a

gross misrepresentation of the likely sentencing consequences of

accepting the Government's formal plea offer" with respect to the

drug count, 31 and that defense counsel "was deficient for coercing

[him] into pleading guilty to the firearm count." 32

     The Government filed its motion for summary               judgment on

July 28, 2021, 33 and Plaintiff filed his Pro Se Reply in Opposition

to the United States' Response and Motion for Judgment on the


     30
          Plaintiff's § 2255 Motion, Docket Entry No. 63, p. 18.
     31
          Id. at 19.
     32
          Id. at 23.
     33
          Government's MSJ, Docket Entry No. 69.
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Record ("Plaintiff's Reply") (Docket Entry No. 72) on September 23,

2021.


                          II.     Standard of Review

A.      Standard for § 2255 Motions

        A prisoner serving a sentence imposed by a federal court

 "claiming the right to be released upon the ground that the

sentence was imposed in violation of the Constitution or laws of

the United States                 may move the court which imposed the

sentence to vacate, set aside or correct the sentence."             28 U.S.C.

§ 2255 (a).     "Unless the motion and the files and records of the

case conclusively show that the prisoner is entitled to no relief,

the court shall                 grant a prompt hearing thereon, determine

the issues and make findings of fact and conclusions of law with

respect thereto."      28 U.S.C. § 2255(b).

        When facts are at issue in a § 2255 proceeding, a
        hearing is required if (1) the record, as supplemented by
        the trial court's personal knowledge or recollection,
        does not conclusively negate the facts alleged in support
        of the claim for§ 2255 relief, and (2) the movant would
        be entitled to postconviction relief as a legal matter if
        his factual allegations are true.

United States v. Anderson, 832 F. App'x 284, 287 (5th Cir. 2020)

 (citing Friedman v. United States, 588 F.2d 1010, 1014-15 (5th Cir.

1979))

        A prisoner seeking relief under 28 U.S.C. § 2255 "must clear

a significantly higher hurdle" than the standard that would exist

on direct appeal.       United States v. Frady, 102 S. Ct. 1584, 1593

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{1982). After a defendant has been convicted and has exhausted or

waived any right to appeal, a court                         normally "entitled to
presume      that    [he]     stands    fairly        and    finally   convicted."
United States v.         Willis, 273 F.3d 592, 595               {5th Cir. 2001)
(citations omitted).         For this reason, review of convictions under
§   2255     limited to "questions of constitutional or jurisdictional
magnitude," United States v. Scruggs, 691 F.3d 660, 666 (5th Cir.
2012), or claims that could not have been raised on direct appeal,
such as those for inef             ive assistance of counsel.               Massaro
v. United States, 123 S. Ct. 1690, 1694 96 (2003).
        To prevail on an            fective-assistance claim, a defendant
must show that          (1) counsel's performance             was defi          and

(2) that he was prejudiced as the result of counsel's deficient
performance.        Strickland v. Washington,           104 S. Ct. 2052, 2064
(1984). To demonstrate deficient performance, "the defendant must
show that counsel's representation fell below an objective standard
of reasonableness."         Id.   This is a "highly deferential" inquiry in
which "counsel is strongly presumed to have rendered adequate
ass     tance and made all significant decisions in the exercise of
reasonable professional judgment."              Id. at 2065, 2066.       Under this
standard,      courts   must      "presume     that    counsel   satisf      their
obligation to render competent advice at the time the                      clients
considered pleading guilty."           Padilla v. Kentucky, 130 S. Ct. 1473,
1485 (2010) (citing Strickland, 104 S. Ct. at 2065).                   To overcome


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this presumption, a defendant must identify acts or omissions of

counsel that were        not   the result of reasonable              professional

judgment.       Strickland, 104 S. Ct. at 2066.

     To establish prejudice, "[t]he defendant must show that there

is a reasonable probability that, but for counsel's unprofessional

errors, the result of the proceeding would have been different.                  11




Id. at 2068.       In the guilty plea context, the prejudice component

is not satisfied unless a defendant shows that                       "there is a

reasonable probability that, but for counsel's errors, he would not

have pleaded guilty and would have insisted on going to trial.                   11




Hill v.     Lockhart, 106 S.      Ct.    366, 370       (1985).     This inquiry

"focuses on a defendant's decisionmaking, which may not turn solely

on the likelihood of conviction after trial.           11
                                                             Lee v. United States,

137 S.    Ct.    1958, 1966    (2017)       "When a defendant alleges his

counsel's deficient performance led him to accept a guilty plea

rather than go to trial, [courts] do not ask whether, had he gone

to trial, the result of that trial would have been different than

the result of the plea[,]        11
                                      but      "instead consider whether the

defendant was prejudiced by the denial of the entire judicial

proceeding to which he had a right.               11
                                                       Id.     at 1965   (internal

quotations, citations, and alterations omitted).                  The court still

considers whether a defendant had any viable defenses because

"[w]here a defendant has no plausible chance of an acquittal at

trial, it is highly likely that he will accept a plea if the


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Government offers one."             Id. at 1966; see also Young v. Spinner,

873 F.3d 282, 287           (5th Cir. 2017)        (finding that overwhelming

evidence against a defendant "made his acquittal, and ability to
show prejudice, exceedingly unlikely.").

        "Courts should not upset a plea solely because of post hoc

assertions from a defendant about how he would have pleaded but for
his attorney's deficiencies.                  Judges should instead look to
contemporaneous evidence to substantiate a defendant's expressed
preferences."        Lee, 137 S. Ct. at 1967.              Factors relevant to
determining whether a defendant would have gone to trial can also
include      "the   risks    [he]     would     have   faced   at   trial,"    "his
'representations about his desire to retract his plea,'" and "the
district court's admonishments."               United States v. Batamula, 823
F.3d 237, 240 n.4 (5th          . 2016) (quoting United States v. Kayode,
777 F.3d 719, 725 (5th                2014)).
        A pro se litigant's pleadings are reviewed under                      "less
stringent       standards      than      formal        pleadings    drafted     by
lawyers               "   Haines v. Kerner, 92 S. Ct. 594, 596 (1972).

"At         same time, however, mere conclusory allegations on a
critical issue are insufficient to raise a constitutional issue."
United States v. Pineda, 988 F.2d 22, 23 (5th Cir. 1993) (internal
quotations and citation omitted).


B.      Standard for Summary Judgment

        Summary judgment       appropriate if the movant establishes that
there       no genuine dispute about any material fact and the movant

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is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a).

Disputes about material facts are genuine "          the evidence       such
that a reasonable jury could return a verdict for the nonmoving

party."     Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2510
(1986).     The moving party is entitled to judgment as a matter of
law if "the nonmoving party has failed to make a sufficient showing
on an essential element of her case with respect to which she has
the burden of proof."      Celotex Corp. v. Catrett, 106 S. Ct. 2548,
2552 (1986) .

       A party moving for summary judgment "must 'demonstrate the

absence of a genuine issue of material              ' but need not negate
the elements of the nonmovant's case."       Little v. Liquid Air Corp.,
37 F.3d 1069, 1075 (5th        . 1994) (en bane) (per curiam) (quoting
Celotex, 106 S. Ct. at 2553).       "If the moving party fails to meet
this initial burden, the motion must be denied, regardless of the
nonmovant's response."          If the moving party meets this burden,

Rule 56(c) requires the nonmovant to go beyond the pleadings and
show   by   affidavits,    depositions,   answers    to   interrogatories,
admissions on file,       or other admissible evidence that specific
facts exist over which there is a genuine issue for trial.                  Id.
The nonmovant "must do more than simply show that there                 some
metaphysical doubt as to the material facts."         Matsushita Electric
Industrial Co., Ltd. v. Zenith Radio Corp., 106 S. Ct. 1348, 1356
(1986).


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       In reviewing the evidence "the court must draw all reasonable

inferences in favor of the nonmoving party, and it may not make
credibility determinations or weigh the evidence."                    Reeves v.

Sanderson Plumbing Products, Inc., 120 S. Ct. 2097, 2110 (2000).
The court resolves factual controversies                favor of the nonmovant,
"but only when there is an actual controversy, that is, when both
parties have submitted evidence of contradictory facts."                Little,
37 F.3d at 1075.


                                     III.    Analysis

A.     The Drug Count

       Plaintiff claims that counsel "assured               [him]   that he was
[only] being charged with the 9.1 grams                  cocaine base found at
the residence where           [he]   was arrested" and that Plaintiff thus

expected that he "would be facing an advisory guidelines range of
30-37 months' imprisonment for the drug count." 34 However, because
the court considered Plaintiff's prior relevant conduct, including
Plaintiff's sale of 28 grams of cocaine to HPD investigators in May
of 2018, Plaintiff's guideline range was 70-87 months. 35                 court
sentenced Plaintiff to 70 months' imprisonment on the drug count. 36
Plaintiff asserts that he "only pleaded guilty to the drug count as


       34
            Plaintiff's   §   2255 Motion, Docket Entry No. 63, pp. 19 20.
      Sentencing Transcript, Docket Entry No. 45, page 3, line 6
       35

through page 4, line 2.
                at page 8, 1          8-9.
                                            -23-
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a result of counsel's misadvice which convinced him that by

accepting the plea of            his sentence exposure on that count would

be limited to the 9.1 grams of cocaine base found at the residence

where [he] was arrested."37
        "When a defendant pleads guilty on the advice of counsel, the
attorney has the duty to advise the defendant of the available
options and possible consequences."                Beckham v. Wainwright, 639
F.2d 262, 267 (5th Cir. 1981); see also United States v. Herrera,
412 F.3d 577, 580 (5th Cir. 2005) ("One of the most important
duties of an attorney representing a criminal defendant                 advising
the defendant about whether he should plead guilty.                  An attorney

fulfil          this obligation by informing the defendant about the
relevant circumstances and the likely consequences of a plea.").
"As long as the defendant understood the length of time he might

possibly receive, he was fully aware of               s plea's consequences."
United States v. Jones, 905 F.2d 867, 868 (5th Cir. 1990) (internal
quotations,        citations,      and   alterat        omitted);     see   also

United States v. Cardenas, 531 F. App'x 530, 530-31 (5th Cir. 2013)
("Because Cardenas was aware of the maximum sentence he faced, his
alleged mistaken bel            that his sentence would not be enhanced
based     -on     his   relevant    conduct     did   not   render          plea
involuntary. 11)
        In United States v. Valdez, 973 F.3d 396, 403 (5th Cir. 2020),
the Fi          Circuit held        a defense counsel's performance was not

     37
          Plaintiff's    §   2255 Motion, Docket Entry No. 63, p. 27.
                                         -24-
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unreasonably deficient simply because counsel "underestimated" the

defendant's Guidelines range.                  The court's holding was based

largely on          the    fact    that   defense      counsel    "did   advise      [the
defendant] of the 10-year statutory maximum, which of course he was
earlier advised of in open court at his arraignment."                                 The
court         so    noted       that   "post-Booker,     the    application          the

Guidelines to a sentence is discretionary,                        and the court is
entitled to impose a variance outside the Guidelines range."                          Id.

at 404.        The court found that the defendant had been "properly
apprised" of the consequences of pleading guilty and                           he knew

that        "no estimation [counsel]           offered was a guarantee or a

promise."          Id.    The court concluded that "[i] t is no doubt that

counsel's estimated sentencing range was far lower than [the
defendant's] actual sentence.                 Neverthe     s, we do not find any
deficiency in counsel's estimation to be unreasonable."
       Plaintiff argues                 "the terms of          plea agreement itself
put counsel on notice that [Plaintiff's] sentence would be impacted
by relevant conduct" 38 because the Plea Agreement contained details
about Plaintiff's relevant conduct.                  Defense counsel objected to
the court's consideration of that relevant conduct during the
sentencing         phase.39        Although    the     court     rejected    counsel's
arguments, Plaintiff does not allege, and nothing in the record


       38
            Plaintiff's     §   2255 Motion, Docket Entry No.        63,    p. 21.
          Addendum, Docket Entry No. 27, p. 1; PSR, Docket Entry
No. 26, pp. 4-5 11 3-5.
                                           -25-
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suggests, that counsel made the arguments in bad faith or without

a reasonable basis for believing they would succeed.
      Moreover, Plaintiff understood the consequences of pleading
guilty.        The court explained at his rearraignment that Plaintiff
faced a maximum sentence of twenty years                     prison for Count One. 40

Plaintiff stated under oath that he understood. 41 Plaintiff further

stated that no one,                including his lawyer,        had told him what
sentence he would receive if he pleaded guilty. 42                     The court told
Plaintiff that "this process of determining your sentence has not
yet begun.       That means no one knows what advisory guide                    range
the probation officer will recommend, or what advisory guideline
range the Court will find applicable,                     or what sentence I will
impose. " 43     Plaintiff stated under oath that he understood this. 44
      Plaintiff was            "properly apprised"         of the consequences of
pleading guilty and knew that "no estimation [counsel] of                         was
a guarantee or a promise.             11
                                              Valdez, 973 F. 3d at 403.       Because
Plaintiff was fully aware of the consequences of his gui                        plea,
see Jones,       905 F. 2d at 868,                the court concludes that counsel
fulfilled his duty and was not deficient.                      Wainwright, 639 F.2d
at 267.    Counsel's estimated sentencing range may have                        lower


      Rearraignment Transcript,
      40
                                                    Docket Entry No.    53,   page 7,
lines 24-25.
               at page 8   I   1           8-9.
      42
               at page 11, lines 20-25 and                   12, lines 1-3.
      43
               at page 9   I   lines 10-15.
      44
               lines 16-17.
                                              -26-
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than the sentence Plaintiff actually received,                but the court

\\do [es]      not find any deficiency in counsel's estimation to be

unreasonable."         See Valdez, 973 F.3d at 403.
        Moreover, Plaintiff cannot show that he was prejudiced by
counsel's alleged inaccurate prediction.            Based on the information
Plaintiff had about his possible sentence and the overwhelming
evidence against him,                  court concludes that there is no
"reasonable probability that, but for counsel's [alleged] errors,
[Plaintiff] would not have pleaded guilty and would have insisted
on going to trial."            ==' 106 S. Ct. at 370.    The court will not

\\upset a plea solely because of [Plainti           's] post hoc assertions
             about how he would have pleaded differently but for his
attorney's deficiencies."                Lee, 137 S. Ct. at 1967.

        The court concludes that Plaintiff knowingly, voluntarily, and
intelligently entered his plea on Count One, and that Plaintiff has
failed to show ineffective assistance              counsel as to that plea.

Accordingly, Plaintiff's § 2255 Motion as to Count One                DENIED.

There being no genuine dispute as to any material fact necessary
for the resolution of this question,             the court will grant the
Government's MSJ as to Plaintiff's guilty plea to Count One of the
indictment.

B.      The Gun Count

        Plaintiff argues that his counsel \\was deficient for coercing
[him]        into pleading guilty to the firearm count." 45         Plaintiff


        45
             Plaintiff's   §   2255 Motion, Docket Entry No. 63, p. 23.
                                        -27-
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asserts that during his rearraignment hearing,                   he "truthful [ly]

explained that he did not possess the firearm in connection with

drug trafficking,      but rather for protection due to the dangers

present in the surrounding community." 46            After Plaintiff asserted

in court that he did not possess the gun in connection with the

drug crime, the court called a recess. 47                When Plaintiff returned

to the courtroom, he stated under oath that he possessed the gun

"[t] o protect the drugs. " 48        The court asked Plaintiff whether

anyone had threatened him or forced him to plead guilty,                            and

Plaintiff said no. 49          Plaintiff     also executed        a    written plea

agreement, which read in part that Plaintiff "acknowledges that no

threats have been made against him [] and that he [] is pleading

guilty freely and voluntarily because he [] is guilty." 50

     "Solemn declarations in open court carry a strong presumption

of verity.     The subsequent presentation of conclusory allegations

unsupported by specifics is subject to summary dismissal                                 II




Blackledge     v.   Allison,    97   S.   Ct.    1621,    1629       (1977).      "[A]   n

unambiguous plea agreement                      is accorded great evidentiary

weight."     United States v. Abreo, 30 F.3d 29, 32 (5th Cir. 1994);



     46Id.



      Rearraignment Transcript, Docket Entry No. 53,
     47
                                                                               page 14,
line 20 through page 16, line 10.
     48
          Id. at page 17, line 24 through page 18, line 7.
     49
          Id. at page 11, lines 17-19.
     50
          Plea Agreement, Docket Entry No. 19, p. 10             1    22.

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see also Hobbs v. Blackburn, 752 F.2d 1079, 1081 (5th Cir. 1985)

("Official records, such as this signed document, are entitled to

a presumption of regularity and are accorded great evidentiary

weight.").

       Plaintiff asserts that " [d] uring               recess,   [counsel]

told me to say that I fired the weapon to protect the 9.1 grams of

cocaine base found at the residence where I was arrested." 51           In a

sworn declaration, Plaintiff asserts:          "I did not want to say what

[counsel] told me to because that was not what happened.             But, I

was afraid and     [counsel]        told me that doing so was in my best

interest."52

       To establish coercion Plaintiff "must show that the fear of a

greater penalty destroyed his ability to weigh rationally, with aid

of counsel, the advantages of proceeding to trial against those of

pleading guilty                II
                                     Garner v. Scott, 59 F.3d 1242, at *l

(5th Cir. 1995) (citing Jones v. Estelle, 584 F.2d 687, 690 (5th

Cir.   1978)).    Plaintiff alleges no facts that would establish

coercion. Plaintiff does not allege "actual or threatened physical

harm, promises to cease improper harassment, or bribes.             Neither

has he shown mental coercion that overcame his free will."                  See

Estelle, 584 F.2d at 689-90            (citing Brady v. United States, 90


      Declaration of Robert Coleman in Support of Motion to Vacate,
       51

Set Aside or Correct a Federal Sentence or Conviction Pursuant to
28 U.S. C. § 2255     ("Plaintiff's Declaration"),    attached to
Plaintiff's § 2255 Motion, Docket Entry No. 63-1, p. 3 1 4.
       s2Id.

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S. Ct. 1463, 1470 (1970)) .          Plaintiff alleges that he "was afraid"

and that his counsel told him that pleading guilty to the gun

charge was in his best interest, 53 but he says nothing specific

about the manner in which counsel made this recommendation, and

nothing in his pleadings or in the record suggests that counsel

exerted undue pressure.         Even if counsel made his recommendation

urgently or impatiently -- something Plaintiff has not alleged -­

a defense attorney's "impatience and stern demand for a quick

answer," when added to the threat of a harsh sentence if the case

goes to trial, does not amount to coercion.             See Estelle, 584 F.2d

at 690.       "[A] plea is not involuntary solely because a defendant

pleads guilty out of a desire to limit the possible penalty."                Id.

(citing North Carolina v. Alford, 91 S. Ct. 160, 164 (1970)).

      The court concludes that the files and records of the case

conclusively show that Plaintiff is entitled to no relief, and

therefore no evidentiary hearing is necessary.                See 28 U.S. C.

§   2255(b);    Anderson,    832 F.    App'x at 287.      Even if the court

accepts all the facts alleged in Plaintiff's Declaration as true,

Plaintiff has not stated a plausible claim to relief under 28

u.s.c.    §   2255.     Therefore,    Plaintiff's   §   2255 Motion will be

denied, and the Government's MSJ will be granted.

                      IV.   Certificate of Appealability

      Rule 11 of the Rules Governing Section 2255 Proceedings states

that a district court          "must issue or deny a certificate of


      s3Id.

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appealability     when      it    enters   a    final     order   adverse   to    the

applicant."     A certificate of appealability will not issue unless
the applicant makes "a substantial showing of the denial of a
constitutional right," 28 U.S.C. § 2253(c)(2), which requires an
applicant to demonstrate that "'reasonable jurists would find the
district court's assessment of the constitutional claims debatable
or wrong. '"     Tennard v.        Dretke, 124 S.         Ct. 2562, 2569 (2004)

(quoting Slack v. McDaniel, 120 S. Ct. 1595, 1604 (2000)).                       This
requires a petitioner to show that                  "jurists of reason could
disagree with the district court's resolution of his constitutional

claims or             could conclude the issues presented are adequate

to deserve encouragement to proceed further."                 Buck v. Davis, 137
S. Ct. 759, 773 (2017} (internal quotations and citation omitted}.
     A district court may deny a certificate of appealability

sua sponte without requiring further briefing or argument.                       See
Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000).                     After

careful review of the pleadings, the arguments of the parties, and
the applicable law, the court concludes that reasonable jurists
could    not   find   the     assessment       of   the   constitutional    claims
debatable or wrong.              Because Plaintiff does not allege facts
showing that his claims could be resolved in a different manner, a
certificate of appealability will be denied.


                         V.       Conclusion and Order

        For the reasons explained above, the court concludes that
Plaintiff has not stated a plausible claim to relief under 28
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U.S.C.   § 2255, and the Government is entitled to judgment as a

matter of law.    Accordingly,    Plaintiff's Motion Under 28 U.S.C.

§ 2255 to Vacate, Set Aside, or Correct Sentence By a Person in

Federal Custody (Docket Entry No. 63) is DENIED; the United States'

Motion for Summary Judgment (Docket Entry No. 69) is GRANTED; and

this action will be dismissed with prejudice.

     A certificate of appealability is DENIED.

     The Clerk shall provide a copy of this Memorandum Opinion and

Order to the parties.

     SIGNED at Houston, Texas, on this 5th day of November, 2021.




                                               SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




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